Case 1:02-cV-01152-.]DB-tmp Document 630 Filed 07/22/05 Page 1 of 4 Page|D 755

 

FIl.ED B‘f __ _____ D..Q_
IN 'I'HE UNITED sTATEs DISTRICT coURT

FoR THE wEsTERN DISTRICT oF TENNESSEEUS _
wEsTERN DIvIsIoN JUL 22 PH 2' 37

TH'\'}?¢‘F£ hi {`;»{".\;L" u"
CLERK, U.S. B?S?EBCT UURT
W@CWE¥ HTHB

;S` l'l»

  
 

LARRY STEVE MELTON, et al.,
Plaintiffs,
vs. Civ. No. 02-1152-B[P

BANK OF LEXINGTON, et al.,

Defendants.

\_zv~\_¢'~_/v'~.z'\_r`.»¢v\_¢`.n

 

ORDER GRANTING FEDERAL DEPOSIT INSURANCE CORPORATION'S (FDIC)
MOTION FOR LEAVE TO FILE REPLY

 

Before the Court is defendant FDIC’s Unopposed Motion for
Leave to File Reply, filed July ll, 2005 (dkt #620). On July 12,
2005, plaintiff Larry Melton filed a response in opposition. For
good Cause shown, defendant’s motion to file reply is GRANTED.
Defendant FDIC shall have up to and including July 29, 2005, to
file its reply.

lT IS SO ORDERED.

/\/\/

TU M.V PHAM
United States Magistrate Judge

EUL© wl 2005

Date

anCE

ih El"1 E . lpn
e 1:1|"@0 Q[\ 1116 6 Hi, \:`,(I»
-lS docu\ . il ]

n \ 58 and ,
wlth F`U 9 co 50

 

EsiERntn

Notice of Distribution

This notice confirms a copy of the document docketed as number 630 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

EsSEE

 

Daniel D. Warlick

LAW OFFICE OF DAN WARLICK
611 Commerce Street

Ste. 2712

Nashville, TN 37203

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson7 TN 38302--114

William F. Burns
WATSON BURNS, LLC
One Commerce Square
Ste. 2600

1\/lemphis7 TN 38103

R. Douglas Hanson

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/lemphis7 TN 38103

Robert A. CoX

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/lemphis7 TN 38103

John D. Burleson

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jackson7 TN 38302--114

Beth Maloan
83 Bonaire Circle
Jackson7 TN 38305

Case 1:02-cV-01152-.]DB-tmp Document 630 Filed 07/22/05 Page 3 of 4

John T. DoWning

Federal Deposit Ins. Corp.
550 17th Street NW
Washington, DC 20429

Jeffrey L. Griffln

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

Craig C. Conley

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 South Main Street

Ste. 2900

1\/lemphis7 TN 38103

John D. Stevens

RAINEY KIZER REVIERE & BELL
209 East Main Street

P. O. BoX 1147

Jackson7 TN 38302--114

Jeffrey L. Griffln

HARRIS SHELTON DUNLAP COBB & RYDER
2700 One Commerce Square

1\/lemphis7 TN 38103

L. Lee Harrell

HARRELL & HARRELL
110 Northwest Court Sq.
Trenton, TN 38382

William S Walton
1\/1[LLER & MARTIN
1200 One Nashville Place
150 Fourth Ave. North
Nashville, TN 37219--243

Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Tim Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Page|D 757

Case 1:02-cV-01152-.]DB-tmp Document 630 Filed 07/22/05 Page 4 of 4 Page|D 758

Jerry E. Mitchell

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
Lexington, TN 38351

J ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

Larry S. Melton
116 Hidden Valley Cove
Lexington, TN 38351

Honorable J. Breen
US DISTRICT COURT

